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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **
  AURORA MILITARY HOUSING, LLC,
  et al., and AETC II PRIVATIZED              *
  HOUSING, LLC, et al.,                       *
                                              *    Nos. 21-2182C; 22-345C; 22-346C;
                                              *    22-348C; 22-349C; 22-350C; 22-
                     Plaintiffs,              *    351C; 22-352C; 22-353C; 22-354C;
                                              *    22-355C; 22-356C; 22-357C; 22-
             v.                               *    358C; 22-359C; 22-360C; 22-361C;
                                              *    22-362C; 22-363C
                                              *    Filed: January 8, 2023
  UNITED STATES,                              *
                                              *
                     Defendant.
     * * * * * * * * * * * * * * * * **

                                        ORDER

        The court is in receipt of the requested information from the parties which includes
the contractual provisions the parties allege is necessary for the court to decide the
defendant’s motions to dismiss the plaintiffs’ claims. The parties disagree as to whether
the lease agreements for AETC II Privatized Housing, LLC v. United States, Case No.
22-345C, Hunt Southern Group, LLC v. United States, Case No. 22-348C, and BLB
Privatized Housing, LLC v. United States, Case No. 22-349C, contain a definition of the
basic allowance for housing (BAH). Plaintiffs indicate that there are contract documents
in AETC II Privatized Housing, LLC v. United States, Case No. 22-345C that define BAH
for the AETC II Privatized Housing, LLC, Hunt Southern Group, LLC, and BLB Privatized
Housing, LLC plaintiffs. Plaintiffs state that “[t]he AETC II Lockbox Agreement defines
BAH by citing directly to the BAH statute.” According to plaintiffs, section 1.01 of the
“AETC II Lockbox Agreement” provides:

       “BAH” means, with respect to an active duty service member, the
       entitlement of such service member of the cost of housing, including utilities
       and personal property insurance, pursuant to 37 U.S.C. Chapter 7, Section
       403. Such amount corresponds to such service member’s Pay Grade and
       dependent status. These values are set annually by the Department of
       Defense and published on the website www.dtic.mil.

With regard to the documents in the case of Hunt Southern Group, LLC v. United States,
Case No. 22-348C, referred to by plaintiffs as “Air Force Southern Group (‘AFSG’),”
plaintiffs indicate that “[t]he AFSG Lockbox Agreement defines BAH by citing directly to
the BAH statute.” According to plaintiffs, AFSG’s Lockbox Agreement § 1.01 provides:
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       “BAH” means, with respect to an active duty service member, the
       entitlement of such service member of the cost of housing, including utilities
       and personal property insurance, pursuant to 37 U.S.C. Chapter 7, Section
       403. Such amount corresponds to such service member’s Pay Grade and
       dependent status. These values are set annually by the Department of
       Defense and published on the website www.dtic.mil.

With regard to regard to the documents in the case of BLB Privatized Housing, LLC v.
United States, Case No. 22-349C, plaintiffs state that “[t]he BLB Lockbox Agreement
defines BAH by citing directly to the BAH statute.” According to plaintiffs, section 1.01 of
the “BLB’s Lockbox Agreement” provides:

       “BAH” means, with respect to an active duty service member, the
       entitlement of such service member of the cost of housing, including utilities
       and personal property insurance, pursuant to 37 U.S.C. Chapter 7, Section
       403. Such amount corresponds to such service member’s Pay Grade and
       dependent status. These values are set annually by the Department of
       Defense and published on the website www.dtic.mil.

Defendant, however, states that

       some agreements do not define BAH. The AETC II and Hunt Lease
       Agreements (including the Operating Agreements and Master Development
       and Management Agreement MDMA)) do not define BAH. Similarly, the
       BLB Property Lease and related documents do not define BAH.

       Due to the conflicting information in the documents provided by the parties, on or
before Tuesday, January 24, 2023, the plaintiffs in AETC II Privatized Housing, LLC v.
United States, Case No. 22-345C, Hunt Southern Group, LLC v. United States, Case No.
22-348C, and BLB Privatized Housing, LLC v. United States, Case No. 22-349C shall file
supplemental briefings to address the difference between the parties’ positions regarding
the definitions of BAH. On or before Tuesday, February 7, 2023, defendant shall file its
response.


       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge




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